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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 JUNE FLANNERY, as the                        )
 Personal Representative of the               )
 ESTATE OF KENNETH W. FLANNERY                )       Cause No. 1:13-CV-1714-RLY-MJD
                                              )
      Plaintiff,                              )
                                              )
 vs.                                          )
                                              )
 THE CITY OF INDIANAPOLIS;                    )
 OFFICER ALAN HOPKINS;                        )
 OFFICER MARSHALL HOSKINS; OFFICER )
 MARK FORD, individually as Indianapolis      )
 Metropolitan Police Department Officers;     )
 SHERIFF JOHN R. LAYTON in his official )
 capacity as the Sheriff of the Marion County )
 Sheriff’s Department;                        )
 DEPUTY EARNEST WATERMAN; DEPUTY)
 PARKER SANDERS,                              )
 individually as Marion County                )
 Sheriff Department Deputies,                 )
                                              )
     Defendants.                              )

            SUPPLEMENTAL JOINT REPORT ON THE STATUS OF DISCOVERY

        The parties, by their respective counsel, file this Supplemental Joint Report on the Status

 of Discovery pursuant to the Court’s Order Regarding Case Schedule and Related Issues (Docket

 No. 74):

        1.      Discovery Completed Since Last Report (Docket No. 75):

 As of the date of the last report, the following discovery has been completed:

                a. Depositions Completed (since 9/12/2014)
                       i. Deputy Parker Sanders – scheduled for October 6, 2014, to be
                          rescheduled
                      ii. Nurse Kristi Robison – taken on October 6, 2014
                     iii. Deputy Andrew Hotseller – taken on October 7, 2014
                     iv. Nurse Danell Olson – taken on October 7, 2014
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            b. Written Discovery Completed (since 9/12/2014)

                   i. City’s First Set of Interrogatories and Request for Production to
                      Plaintiff
                          1. Date Served – June 26, 2012 (issue as to form of request
                              resolved on August 21, 2014)
                          2. Responses Completed : Interrogatory Responses served on
                              10/8/2014; Plaintiff will serve responses to Request for
                              Production on or before 10/20/2014.



       2.   Discovery Presently Scheduled or Pending

            a. Depositions – Scheduled
                    i. Dr. Theodore Chan – Scheduled for October 15, 2014 in San Diego,
                       CA.
                   ii. Dr. Matthew Lee – Scheduled for October 20, 2014 in Richmond,
                       Virginia
                 iii. Richard Gootee – Scheduled for October 22, 2014
                  iv. Deputy Parker Sanders – Rescheduled for October 22, 2014
                   v. Pamela Arnett – Scheduled for October 22, 2014
                  vi. Officer Alan Hopkins – Scheduled for October 23, 2014
                 vii. Officer Marshall Hoskins – Scheduled for October 23,2014
                viii. 30(B)(6) Deposition of Sheriff – Scheduled for November 17, 2014
                  ix. 30(B)(6) Deposition of City of Indianapolis – Scheduled for
                       November 17, 2014

            b. Depositions – Scheduling in Process
                  i. The parties have set aside the following dates for purposes of
                      scheduling depositions in this matter (other than those that have
                      already been scheduled above):
                          1. October 21, 2014
                          2. November 12, 2014
                          3. November 19, 2014
                          4. November 21, 2014

       3.   Discovery Disputes Presently Pending

            a. Sheriff’s Motion to Compel Plaintiff’s Health Records is Currently Pending

                    i. Sheriff filed Motion and Brief on 9/18/2014
                   ii. Plaintiff’s Response was filed on 10/2/2014
                  iii. Sheriff’s Reply due on or before 10/14/2014

            b. Arrestee Processing Center Video Footage



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                   i. Plaintiff contends that the Sheriff’s Responses only included edited
                      portions of video. On September 10, 2014, Plaintiff sent Rule 37 letter
                      requesting unedited full versions of the video. MCSO responded in
                      writing stating that the video has not been edited in any way, but that
                      the video’s recording software was motion-activated. MCSO sent that
                      written response on October 2, 2014. Plaintiff sent email on October
                      3, 2014 asking for time to meet and confer to discuss this issue further.
                      The Parties spoke on October 7th about this issue and believe that they
                      will be able to get this issue resolved without assistance of the Court.


       4.   Discovery Planned to be Completed within the next 28 days

            a. Deposition Activity
                  i. Continue Efforts to Schedule and Complete Fact Witness Depositions
                         1. Sgt. Jeff Breedlove
                         2. Sgt. Brent Hendricks
                         3. Sgt. Mark Ford
                         4. Chaplain Wagoner
                         5. Sheriff John R. Layton


            b. Written Discovery

                   i. Plaintiff Anticipates Serving a Third Set of Interrogatories upon the
                      City and Sheriff pertaining to transportation issues and second set of
                      Request for Admissions regarding status of jail wagon.
                  ii. Plaintiff Anticipates Requesting Inspection of Jail Wagon used to
                      transport decedent.


       5.   Known Discovery Remaining

            a.    Resolve dispute regarding Plaintiff’s responses to interrogatories and
                  requests for production. Once resolved, take deposition of Plaintiff.

             b.   Parties have agrees that Plaintiff will disclose rebuttal expert witnesses for
                  purposes of dispositive motions 15 days after the depositions of the
                  Sheriff’s experts.

       6.   Other Discovery Issues




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          WHEREFORE, the parties, by their respective counsel, respectfully submit this Second

 Joint Report on the Status of Discovery to the Court.



 Dated:         October 13, 2014                     Respectfully submitted,

                                                     /s/ Brian R. Drummy (with consent)
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                                                     Samuel R. Ardery, #4145-53
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                                                     Attorneys for Plaintiff, June Flannery, as the
                                                     Executor of the Estate of Kenneth W.
                                                     Flannery

                                                     /s/ Alexander P. Will
                                                     Anthony W. Overholt
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                                                     Deputy Sanders

                                                     /s/ Ameen R. Najjar (with consent)
                                                     Amanda J. Griffith
                                                     Ameen R. Najjar
                                                     Beth Ann Garrison
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                                                     Counsel for Def, City of Indpls, Officer
                                                     Hopkins, Officer Hoskins, Officer Ford


    (electronically signed by Alexander P. Will with consent from counsel for the Defendants)



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                                    CERTIFICATE OF SERVICE

        I certify that on October 13, 2014, a copy of this Supplemental Joint Report on the Status
 of Discovery was sent via the Court’s Electronic Filing System to the following parties:

          Amanda J. Griffith                             Anthony W. Overholt
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